   Case 3:13-cr-00232-SCC       Document 55      Filed 04/21/14     Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 13-0232CCC
 1) JONATHAN MORA-DIAZ
 2) JUAN CARLOS ORTIZ-FIGUEROA
 Defendants



                                            ORDER

       Having considered the Report and Recommendation filed on March 28, 2014 (docket

entry 49) on a Rule 11 proceeding of defendant [1] Jonathan Mora-Díaz before

U.S. Magistrate Judge Camille L. Vélez-Rivé on March 28, 2014, to which no objection has

been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is

accepted. The Court FINDS that his plea was voluntary and intelligently entered with

awareness of his rights and the consequences of pleading guilty and contains all elements

of the offense charged in the indictment.

       This case was referred to the U.S. Probation Office for preparation of a Presentence

Investigation Report since March 28, 2014. The sentencing hearing is set for July 1,

2014 at 4:30 PM.

       The U.S. Probation Officer is reminded that, should any objections be raised by

defendant to the PreSentence Report, the Addendum to said PreSentence Report must

specifically identify any unresolved objections, the grounds for the objections, and the

U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The

party that raised the unresolved objections shall, within twenty-four (24) hours after the

Addendum is disclosed, state in writing whether it will insist that the unresolved objections
  Case 3:13-cr-00232-SCC        Document 55    Filed 04/21/14   Page 2 of 2



CRIMINAL 13-0232CCC                        2

be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal

of the unresolved objections.

      SO ORDERED.

      At San Juan, Puerto Rico, on April 21, 2014.



                                               S/CARMEN CONSUELO CEREZO
                                               United States District Judge
